Case 3:21-cv-12870-MAS-DEA Document 9-9 Filed 07/14/21 Page 1 of 4 PageID: 247




                EXHIBIT I
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Case3:21-cv-12870-MAS-DEA
     1:18-cv-01962-LPS Document
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                                               07/14/21
                                                    PagePage
                                                         1 of 32PageID
                                                                of 4 PageID:
                                                                       #: 16225
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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

                                                )
 SILVERGATE PHARMACEUTICALS,                    )
 INC.,                                          )
                                                )
       Plaintiff,                               )
                                                )           C.A. No. 18-1962 (LPS)
 v.                                             )           C.A. No. 19-1067 (LPS)
                                                )
 BIONPHARMA INC.,                               )
                                                )
       Defendant.                               )
                                                )

                          SILVERGATE’S NOTICE OF APPEAL

       Pursuant to Federal Rule of Appellate Procedure 3(a), notice is hereby given that

Plaintiff Silvergate Pharmaceuticals, Inc. (“Silvergate”), appeals to the United States Court of

Appeals for the Federal Circuit from this Court’s Final Judgment (C.A. No. 18-1962 (D.I. 270))

entered on April 29, 2021, and any and all other orders, opinions, rulings, findings, or

conclusions adverse to Silvergate, including the Opinion and Order (C.A. No. 18-1962 (D.I.

257, 259)) issued on April 27, 2021.
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Case3:21-cv-12870-MAS-DEA
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                                               07/14/21
                                                    PagePage
                                                         2 of 33PageID
                                                                of 4 PageID:
                                                                       #: 16226
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April 30, 2021




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Case3:21-cv-12870-MAS-DEA
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                                                    PagePage
                                                         3 of 34PageID
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                               CERTIFICATE OF SERVICE

       I hereby certify that on April 30, 2021, I caused the foregoing to be electronically filed

with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

registered participants.

       I further certify that I caused copies of the foregoing document to be served on April

30, 2021, upon the following in the manner indicated:

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                                            /s/ Megan E. Dellinger
                                            __________________________
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